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10 Attorneys for Applicant FREDRIC N. ESHELMAN

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12                                     UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14                                             SAN JOSE DIVISION
15

16   In re Ex Parte Application of                      CASE NO. 5:23-MC-80015
17   FREDRIC N. ESHELMAN,
                                                        DECLARATION OF FREDRIC N. ESHELMAN
18   Applicant,                                         IN SUPPORT OF DR. ESHELMAN’S EX PARTE
                                                        APPLICATION FOR AN ORDER PURSUANT
19   For an Order Pursuant to 28 U.S.C. § 1782          TO 28 U.S.C. § 1782 GRANTING LEAVE TO
     Granting Leave to Obtain Discovery for Use in      OBTAIN DISCOVERY FOR USE IN FOREIGN
20   Foreign Proceedings.                               PROCEEDINGS
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 1                            DECLARATION OF FREDRIC N. ESHELMAN

 2          I, Fredric N. Eshelman, make this declaration pursuant to 28 U.S.C. § 1746 supporting the

 3 application of myself (“Dr. Eshelman”) for a discovery Order pursuant to 28 U.S.C. § 1782 requesting

 4 third party discovery from Google LLC (“Google”), to aid foreign litigation in Germany and India. I

 5 declare and state as follows:

 6          1.     I am a United States citizen, am over the age of 18, am sound of mind, and make this

 7 declaration on the basis of my personal knowledge and my review of publicly available information.

 8          2.     I earned my Doctor of Pharmacy from the University of Cincinnati and earned a Bachelor

 9 of Science from the University of North Carolina. I am a graduate of the Owner/President Management

10 program at Harvard Business School.

11          3.     I went on to found, and was formerly the CEO of, Pharmaceutical Product Development,

12 a research organization providing drug discovery, development, and lifecycle management services.

13          4.     I founded Eshelman Ventures, LLC, an investment company primarily invested in

14 healthcare companies.

15          5.     I have served on the Board of Directors for many pharmaceutical companies and am a

16 major philanthropist, having given over $140 million to charitable causes.

17          6.     On December 4, 2022, I received an email from the alias “terrynewsomee@gmail.com.”

18 The email was sent to info@incyclixbio.com (Incylix Bio, Inc.); tplohoros@6degreespr.com (6 Degrees);

19 ir@aravive.com      (Aravive);     admin@eyenoviabio.com     (Eyenovia);     info@auventx.com   (Auven

20 Therapeutics); info@dignifytherapeutics.com (Dignify Therapeutics); info@cellectivebiotherapy.com

21 (Cellective BioTherapy); hello@jumohealth.com (Jumo Health); media@sapiencetherapeutics.com

22 (Sapience Therapeutics, Inc.); corpdev@sapiencetherapeutics.com (Sapience Therapeutics, Inc.);

23 investors@sapiencetherapeutics.com (Sapience Therapeutics, Inc.); and pr@carbon3d.com (Carbon,

24 Inc.).

25          7.     The December 4, 2022 email is attached as Exhibit 1.

26          8.     The accusations in the December 4, 2022 email are false. I have never “abused police

27 resources.” In fact, I contacted authorities after learning that four individuals had trespassed onto my

28 private Wyoming property, Elk Mountain Ranch.
                                                        1
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 1          9.     On December 4, 2022, I received a second message from what I believe to be the same

 2 person behind the terrynewsomee@gmail.com account. This was sent to me through the contact form on

 3 my company’s website. A true and accurate transcript of that December 4th voicemail message is attached

 4 as Exhibit 2.

 5          10.    I intend to file defamation suits against the person behind these messages, but I am unable

 6 to do so without first knowing the sender’s identity.

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            I declare under penalty of perjury that the foregoing is true and correct. Executed on January 13,
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 9 2023 in Wilmington, North Carolina.

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           EXHIBIT 1
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           EXHIBIT 2
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